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EXHIBIT 22
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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

This Document Relates to:

Electrograph Systems, Inc. et al. v.
Technicolor SA, et al., No. 13-cv-05724;

Alfred H. Siegel, as Trustee of the Circuit
City Stores, Inc. Liquidating Trust v.
Technicolor SA, et al., No. 13-cv-05261;

Best Buy Co., Inc., et al. v. Technicolor SA,
et al., No. 13-cv-05264;

Interbond Corporation of America v.
Technicolor SA, et al., No. 13-cv-05727;

Office Depot, Inc. v. Technicolor SA, et al.,
No. 13-cv-05726;

Costco Wholesale Corporation v.
Technicolor SA, et al., No. 13-cv-05723;

DECLARATION OF JEFFREY S. ROBERTS IN 1
SUPPORT OF THOMSON SA’S MOTION FOR
LEAVE TO AMEND

No. 07-cv-5944-SC
MDL No. 1917

DECLARATION OF JEFFREY S.
ROBERTS IN SUPPORT OF THOMSON
SA’S EMERGENCY MOTION TO
AMEND ITS ANSWERS AND FOR
PARTIAL RELIEF FROM THE
COURT’S ORDER RE: THOMSON
DISCOVERY

Judge: Hon. Samuel Conti

No. 07-5944-SC; MDL No. 1917

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P.C. Richard & Son Long Island
Corporation, et al. y. Technicolor SA, et al.,
No, 31:¢ev-05725;

Schultze Agency Services, LLC, o/b/o
Tweeter Opco, LLC, et al. v. Technicolor SA,
Ltd., et al., No. 13-cv-05668,

Sears, Roebuck and Co. and Kmart Corp. v.
Technicolor SA, No. 3:13-cv-05262;

Target Corp. v. Technicolor SA, et al., No.
13-cv-05686;

Tech Data Corp., et al. v. Hitachi, Ltd., et
al., No, 13-cv-00157

Sharp Electronics Corp., et al. v. Hitachi,
Ltd, et. al., No. 13-cv-01173

ViewSonic Corporation v. Chunghwa Corp.,
et al., No. 14-cv-02510

I, Jeffrey S. Roberts, hereby declare as follows:

1. I am currently an attorney with the law firm Faegre Baker Daniels LLP, counsel for
Defendant Thomson SA. (“Thomson SA”), I am admitted to practice pro hac vice before the
United States District Court for the Northern District of California. The statements contained in
this declaration are based on my personal knowledge and, if called as a witness, I could
competently testify to the following facts.

2, Attached hereto as Exhibit 1 is a true and correct copy of the Amended Answer of
Thomson SA to Sharp Electronics Corp. and Sharp Electronics Manufacturing Company of
America, Inc.’s First Amended Complaint.

3. Attached hereto as Exhibit 2 is a true and correct copy of the Amended Answer of
Thomson SA to Electrograph Systems, Inc. and Electrograph Technologies Corp.’s First
Amended Complaint.

4, Attached hereto as Exhibit 3 is a true and correct copy of the Amended Answer of

Thomson SA to Circuit City’s Complaint.

DECLARATION OF JEFFREY S. ROBERTS IN 2 No. 07-5944-SC; MDL No. 1917
SUPPORT OF THOMSON SA’S MOTION FOR
LEAVE TO AMEND

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5. Attached hereto as Exhibit 4 is a true and correct copy of Amended Answer of Thomson
SA to Best Buy Co. et. al.’s Complaint.

6. Attached hereto as Exhibit 5 is a true and correct copy of the Amended Answer of
Thomson SA to Interbond Corporation of America’s First Amended Complaint.

7. Attached hereto as Exhibit 6 is a true and correct copy of the Amended Answer of
Thomson SA to Office Depot Inc.’s First Amended Complaint.

8. Attached hereto as Exhibit 7 is a true and correct copy of is a true and correct copy of the
Amended Answer of Thomson SA to Costco Wholesale Corporation’s Complaint.

9. Attached hereto as Exhibit 8 is a true and correct copy of the Amended Answer of
Thomson SA to P.C. Richard & Son Long Island Corporation, MARTA Cooperative of America,
Inc., and ABC Appliance, Inc.’s First Amended Complaint.

10. | Attached hereto as Exhibit 9 is a true and correct copy of the Amended Answer of
Thomson SA to Schultze Agency Services, LLC’s First Amended Complaint.

11. Attached hereto as Exhibit 10 is a true and correct copy of the Amended Answer of
Thomson SA to Sears, Roebuck and Co. and Kmart Corp.’s Complaint.

12. Attached hereto as Exhibit 11 is a true and correct copy of the Amended Answer of
Thomson SA to Target Corp.’s Complaint.

13. Attached hereto as Exhibit 12 is a true and correct copy of the Amended Answer of
Thomson SA to Tech Data Corporation and Tech Data Product Management, Inc.’s First
Amended Complaint.

14. Attached hereto as Exhibit 13 is a true and correct copy of the Amended Answer of
Thomson SA to ViewSonic Corporation’s Complaint.

15. Attached hereto as Exhibit 14 is a true and correct copy of the Amended Answer of
Thomson SA to the Direct Purchaser Plaintiffs’ First Amended Complaint.

16. Attached hereto as Exhibit 15 is a true and correct copy of the Direct Action Plaintiffs’
June 28, 2014 Motion to Compel.

17. Attached hereto as Exhibit 16 is a true and correct copy of a November 24, 2014 letter

from Craig Benson.

DECLARATION OF JEFFREY S. ROBERTS IN 3 No. 07-5944-SC; MDL No. 1917
SUPPORT OF THOMSON SA’S MOTION FOR

LEAVE TO AMEND

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18. Attached hereto as Exhibit 17 is a true and correct copy of a November 25, 2014 letter
from Kathy Osborn.

19. Attached hereto as Exhibit 18 is a true and correct copy of a Draft Stipulation and
[Proposed] Order Regarding Personal Jurisdiction Over Thomson SA received from counsel for
Sharp on December 3, 2014.

20. Attached hereto as Exhibit 19 is a true and correct copy of a December 5, 2014 email
string from Jeff Roberts and a Draft Stipulation and [Proposed] Order Regarding Personal
Jurisdiction Over Thomson SA that was attached thereto.

21. Attached hereto as Exhibit 20 are true and correct copy of a Draft Stipulation and
[Proposed] Order Regarding Personal Jurisdiction Over Thomson SA received from counsel for
Sharp on December 8, 2014.

22. Attached as Exhibit 21 is a true and correct copy of a Draft Stipulation and [Proposed]
Order Regarding Personal Jurisdiction Over Thomson SA received from counsel for Sharp on
December 11, 2014.

23. Since October 23, 2014 Thomson SA has engaged a document review team composed of
more than 25 attorneys to search, review, and analyze hundreds of thousands of documents in at
least six foreign languages that were originally located in France.

24. Since October 23, 2014 Thomson SA has produced over 160,000 bates numbered pages of
documents responsive to the Direct Action Plaintiffs’ (“‘DAPs”) document requests. Because a
substantial percentage of these documents were produced in native format and thus received a
single bates number, the actual number of pages of documents Thomson SA has produced is
likely more than 500,000.

25. Immediately after the Court entered its October 23, 2014 Order granting DAPs’ motion to
compel, Thomson SA evaluated the value of maintaining its personal jurisdiction defense in light
of its other discovery obligations, the Plaintiffs’ representation that a substantial amount of
discovery subject to the order would be unnecessary if Thomson SA conceded personal
Jurisdiction, and other exigencies.

DECLARATION OF JEFFREY S. ROBERTS IN 4 No. 07-5944-SC; MDL No. 1917

SUPPORT OF THOMSON SA’S MOTION FOR
LEAVE TO AMEND

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26. On December 17, 2014, after nearly two months of negotiations with Plaintiffs, Thomson
SA and Plaintiffs reached an impasse on the language of a stipulation that would allow Thomson
SA to withdraw its personal jurisdiction defense without amending its Answers.

27. | Thomson SA has identified millions of documents that have been preserved from the
Relevant Period, but has been unable to devise any way to cull this massive collection to
meaningfully isolate with targeted searches documents responsive to the broad Category 2

requests.

Executed this 18th day of December 2014, at Denver, Colorado.

/s/ Jeffrey S. Roberts

DECLARATION OF JEFFREY S. ROBERTS IN 5 No. 07-5944-SC; MDL No. 1917
SUPPORT OF THOMSON SA’S MOTION FOR
LEAVE TO AMEND

